Case 23-17155-SLM           Doc 13      Filed 10/10/23 Entered 10/11/23 08:55:08          Desc Main
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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1(b)
 Robertson, Anschutz, Schneid, Crane & Partners,                 Order Filed on October 10, 2023
                                                                 by Clerk,
 PLLC                                                            U.S. Bankruptcy Court
 130 Clinton Road, Lobby B, Suite 202                            District of New Jersey
 Fairfield, NJ 07004
 Telephone: 973-575-0707
 Facsimile: 973-404-8886
 Attorneys for Secured Creditor

 Sindi Mncina (237862017)

                                                              Case No.:      23-17155-SLM
 In Re:
                                                              Chapter:          7
 Salvador T Magno,                                                                  10
                                                              Hearing Date: October 11, 2023
          Debtor.
                                                              Judge:         Stacey L. Meisel




              Recommended Local Form:               ; Followed             Modified



                                      ORDER VACATING STAY

The relief set forth on the following page, is hereby ORDERED.



DATED: October 10, 2023
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Page 2
Debtors: Salvador T Magno
Case No.: 23-17155-SLM
Caption of Order: Order Vacating Stay
______________________________________________________________________________



        Upon the motion of U.S. Bank Trust National Association, Not In Its Individual Capacity
But Solely As Owner Trustee For Rcf2 Acquisition Trust, (“Secured Creditor”) under Bankruptcy
Code section 362(d) for relief from the automatic stay as to certain property as hereinafter set forth,
and for cause shown, it is

        ORDERED that the automatic stay is vacated to permit the movant to institute or resume
and prosecute to conclusion one or more actions in the court(s) of appropriate jurisdiction to pursue
Secured Creditor’s rights in regard to the following:

        ; Real property more fully described as:

        326 Gifford Place Teaneck, NJ 07666.

        It is further ORDERED that Secured Creditor, its successors or assignees, may proceed
with its rights and remedies under the terms of the subject mortgage and pursue its state court
remedies including, but not limited to, taking the property to sheriff’s sale, in addition to potentially
pursuing other loss mitigation alternatives, including, but not limited to, a loan modification, short
sale or deed-in-lieu of foreclosure. Additionally, any purchaser of the property at sheriff’s sale
(purchaser’s assignee) may take any legal action for enforcement of its right to possession of the
property.

    It is further ORDERED that Secured Creditor may join the Debtors and any trustee appointed
in this case as defendants in its action(s) irrespective of any conversion to any other Chapter of the
Bankruptcy Code.

    Secured Creditor shall serve this Order on the Debtors, any trustee, and any other party who
entered an appearance on the motion.




                                                                                              23-17155-SLM
                                                                                                  23-143367
                                                                                          Order Vacating Stay
